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EXHIBIT 1

 

2020-2021

    
   
 

Guidelines for Student —

in Montgomery County Public Schools ue

www.montgomeryschoolsmd.org

 
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VISION

 

We inspire learning by
providing the greatest
public education to each
and every student.

MISSION

Every student will have
the academic, creative
problem solving, and
social emotional Skills
to be successful in
college and career.

CORE PURPOSE

Prepare all students to
thrive in their future.

CORE VALUES

Learning
Relationships
Respect
Excellence
Equity

 

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Rockville, Maryland 20850
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Montgomery County Public Schools (MCPS) is
committed to a safe, welcoming school environment
where students are engaged in leaming and are
active participants in the school community because
they feel accapted and valued, To this end, all
students should feel comfortable expressing their
gender identity, including students who identify as
transgender or gender nonconforming. It fs critical
that all MCPS staff members recognize and respect
matters of gender identity; make all reasonable
accommodations tn response to student requests
regarding gender identity; and protect student
privacy and confidentiality. To assist in these efforts,
MCPS has developed the following guidelines for
student gender identity that are aligned with the
Montgomery County Board of Education’s core values,
guidance from the Maryland State Department of
Education’, and the Montgomery County Board of
Education Polley ACA, Vondiscrimination, Equity, and
Cultural Proficiency, which prohibits discrimination, .
stigmatization, and bullying based on gender identity,
as well as sex, gender, gender expression, and sexual
orientation, among other personal characteristics.
These guidelines cannot anticipate avery situation
which might occur. Consequently, the needs of each
student must be assessed on a case-by-case basis.

GOALS
@ Support students so they may participate in school life
consistent with their asserted gender identity;

& Respect the right of students to keep their gender identity or
transgender status private and confidential;

@ Reduce stigmatization and marginalization of transgender and
gender nonconforming students;

= Foster social integration and cultural inclusiveness of
transgender and gender nonconforming students; and

Provide support for MCPS staff members to enable them to
appropriately and consistently address matters of student
gender identity and expression.

 

DEFINITIONS

The definitions provided here are not intended to label students
but rather to assist in understanding transgender and gender
nonconforming students. Students might or might not use these
terms to describe themselves.?4

AGENDER Without a gender (also “nongendered” or
“genderless”).

CISGENGER A person whose gender identity and gender expression
align with the person's sex assigned at birth; a person who fs not
transgender or gender nonconforming.

GENDER EXPRESSION The manner with which a person
represents or expresses gender to others, often through behavior,
clothing, hairstyles, activities, voice, speech and word choices, or
mannerisms.

GENDER FLUID A person whose gender identity or gender
expression is not fixed and shifts over time, depending on the
situation. .

GENDER IDENTITY A person’s deeply held internalized

sense or psychological knowledge of the person's own gender.

One’s gender identity may be the same as or different from the

sex assigned at birth. Most people have a gender identity that
matches their sex assigned at birth. For some, however, their gender
identity is different from their sex assigned at birth. All people
have gender identity, not just persons who are transgender or
gender nonconforming people, For the purposes of this guidance, a
student’s gender identity is that which is consistently asserted at
school,

GENGER NONCONFORMING A term for individuals whose
gender expression differs from conventional or stereotypical
expectations, such as “feminine” boys, “masculine” girls, and those
whose gender expression may be androgynous. This includes people
who identify outside traditional gender categories or identify as
two or more genders. Other terms that can have similar meanings
include “gender diverse” or “gender expansive.”

YNTERSEX A range of conditions associated with the
development of physical sex characteristics that do not fit the
typical definition of male or female.

LG@TQ An acronym for the Lesbian, Gay, Bisexual, Transgender,
Queer, and Questioning community. This acronym often is written as
LGBTO+ in an effort to be more inclusive. It is also stated as LGBTA
to include people who are asexual, or LGBTI, with the I representing
intersex, or LGBTOIA to represent all of the above.

MON-BINARY A person who transcends commonly held concepts
of gender through their own expression and identity (e.g., gender
expansive, gender creative, or gender queer). Some non-binary
people are also transgender.

TRelated Montgomery County Board of Education Policies and MCPS Regulations: ACA, ACE, JHE, JMF-RA, ACA-RA, ACE-RA, COA, COARA
2For more information and lists of additional resources, sea: Maryland State Department of Education, Providing Safe Spaces for Transgender and Gender Non-Conforming Youth:

Guidelines for Gender Identity Non-Diserimination (October 2015), available at

manylandaublicechosls.org/aboul Documents OSESS S880. /Breviaings cfeswaces TrensgendergenderhenConforsingrourthol 2016.pdf.
Terminology used in these guidelines is intended to be as inclusive as possible; however, it is understood that terms and language are evolving and may become outdated quickly.
‘Definitions were informed by the following sources: American Civil Liberties Union: American Psychological Associations Baltimore City Schools: California School Boards

Association: Chicago Public Schools: District of Columbia Public Schools; Gay, Lesbian,

and Straight Education Networks Howard County Public Schools: Human Rights Campaign;

Lambda Legal: Maryland State Department of Education: Maryland Public Secondary Schools Athletic Association; Massachusetts Department of Elementary and Secondary Education;
National Collegiate Athletic Assoclatlon; National School Boards Association; New York City Department of Education; PFLAG; and Trevor Project.

 

 

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GUIDELINES FOR STUDENT GENDER IDENTITY ® 2020=2021 © i
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SEX ASSIGNED AT BIRTH The sex designation recorded on an
infant's birth certificate, should such a record be provided at birth.

SEXUAL ORIENTATION Describes a person’s emotional,
romantic, or sexual attraction to other people. Some examples of
sexual orlentation are gay, lesbian, bisexual, asexual or pansexual.

FRANSGENGER An adjective describing a person whose gender
identity or expression is different from that traditionally associated
with the person's sex assigned at birth. Other terms that can have
similar meanings are “transsexual” and “trans.”

TRANSITION The process by which a person decides to live as
the gender with which the person identifies, rather than the gender
assigned at birth. In order to openly express their gender identity to
other people, transgender people may take a variety of steps (e.g.,
using a nickname or legally changing their names and/or their sex
designation on legal documents; choosing clothes and hairstyles that
teflect their gender identity; and generally living, and presenting
themselves to others consistently with thelr gender identity). Some,
but not all, transgender people take hormones or undergo surgical
procedures to change their bodies to align with their gender identity.
Although transitioning includes the public representation on one’s
gender expression, transitioning is a personal process and individuals
transitioning have the right to privacy.

X MARKER Gender marker option for a person who does not
identity with the binary categories of “M” for male or “F”

PROACTIVELY WORKING WITH
TRANSGENDER AND GENDER
HONCONFORMING STUDENTS

GENDER SUPPORT PLAN

The principal (or designee), in collaboration with the student and the
student's family (if the family is supportive of the student), should
develop a plan to ensure that the student has equal access and equal
opportunity to participate in all programs and activities at school and
is otherwise protected from gender-based discrimination at school,
The principal, designee, or school-based mental health professional
(e.g., school psychologist or school counselor) should use MCPS Form
560-80, Intake Fonn: Supporting Students, Gander ieencity to support
this process and assist the student in particlpating in school. The
completed form must be maintained in a secure location and may not
be placed in the student’s cumulative or confidential files. While the
plan should be consistently implemented by all school staff, the form
itself is not intended to be used or accessed by other school staff
members,

{Each student’s needs should be evaluated on a case-by-case
basis, and all plans should be evaluated on an ongoing basis
and revised as needed. As a part of the plan, schools should
identify staff member(s) who will be the key contact(s)
for the student. The plan should delineate how support
will be provided and how and to whom information will be
disseminated. In addition, each plan should address identified
name; pronouns; athletics; extracurricular activities; locker
rooms; bathrooms; safe spaces, safe zones, and other safety
supports; and formal events such as graduation.

COMMUNICATION WITH FAMILIES

Prior to contacting a student's parent/guardian, the principal or
identified staff member should speak with the student to ascertain the
level of support the student either recatves oy anticipates receiving
from home. In some cases, transgender and gender nonconforming
students may not openly express their gender identity at home because
of safety concerns or lack of acceptance. Matters of gender identity
can be complex and may involve familial conflict. If this is the case,
and support is required, the Office of School Support and Improvement
or the Office of Student and Family Support and Engagement (OSFSE)
should be contacted. In such cases, staff will support the development
of a student-led plan that works toward inclusion of the family, if
possible, taking safety concerns into consideration, as well as student
privacy, and recognizing that providing support for a student is critical,
even when the family is nonsupportive.

PRIVACY AND DISCLOSURE QF
F

Mm FORMATION

% All students have a right to privacy. This includes the
right to keep private one’s transgender status or gender
nonconforming presentation at school,

&@ Information about a student’s transgender status, legal name,
or sex assigned at birth may constitute confidential medical
information. Disclosing this information to other students,
their parents/guardians, or third parties may violate privacy
laws, such as the federal Family Educational Rights and Privacy
Act (FERPA).

= Schools will ensure that all medical information, including
that relating to transgender students, is kept confidential in
accordance with applicable state, local, and federal privacy
laws.

@ Please note that medical diagnosis, treatment, and/or other
documentation are not required for a school to accommodate
requests regarding gender presentation, identity, and
diversity.

Transgender and gender nonconforming students have the
right to discuss and demonstrate their gender identity and
expression openly and decide when, with whom, and how
much to share private information. The fact that students
choose to disclose their status to staff members or other
students does not authorize school staff members to disclose
a student's status to others, including parents/guardians and
other school staff members, unless legally required to do
so or unless students have authorized such disclosure, It is
inappropriate to ask transgender or gender nonconforming
students more questions than are necassary to support them
at school,

NAMES/ PRONOUNS

& All students have the right to be referred to by their identified
name and/or pronoun. School staff members should address
students by the name and pronoun corresponding to the
gender identity that is consistently asserted at school,
Students are not required to obtain a court-ordered name
 

 

 

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and/or sex designation change or to change their student
records as a prerequisite to being addressed by the name and
pronoun that corresponds to their identified name. To the
extent possible, and consistent with these guidelines, school
personnel. will make efforts to maintain the confidentiality of
the student’s transgender status.

STAFF COMMUNICATION |

Whenever schools are not legally required to use a student's legal
name or sex assigned at birth on school records and other documents,
the school should use the name and gender {dentified by the student
on documents such as classroom rosters, identification badges,
announcements, certificates, newspapers, newsletters, and yearbooks.
To avoid harmful misgendering or misnaming, schools should be
especially mindful that all information shared with substitute
teachers should be in alignment with the student’s identified name
and gender.

# Schools should seek to minimize the use of permission slips
and other school-specific forms that require disclosure of a
student’s gender or use gendered terminology such as boys/
girls (instead of students) or mother/father (instead of
parent/quardian).

® Unless the student or parent/guardian has specified
otherwise, when contacting the parent/guardian of a
transgender student, MCPS school staff members should use
the student's legal name and pronoun that correspond to the
student's sex assigned at birth.

@ Asking about a person’s pronouns makes spaces more inclusive
and welcoming of transgender, gender nonconforming, and
non-binary people.

OFFICIAL SCHOOL RECORDS

Schools are required to maintain a permanent student record for each
student, which includes the legal name and gender of the student.
In situations where schools are required to use the legal name and
gender from a student’s permanent record, such as for standardized
tests or reports to the Maryland State Department of Education
(MSDE), school staff members and administrators shall adopt —
practices to avoid the inadvertent disclosure of the student's legal
name and gender when it differs from the student's identified name
and gender,

& In accordance with quidance from the Maryland State
Department of Education, a student’s records may identify the
student as male, female, or gender X.

A student’s permanent record will be changed to reflect a
change in the student's legal name or gender upon receipt of
documentation that such legal name and/or gender have been
changed. Any of the following documents fs evidence of a
legal name and/or gender change:

a Court order;

eB New birth certificate;

® State- or federal-issue identification; or

® Documentation from a licensed healthcare practitioner.

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@ Ifa student and/or the student's parent/guardian requests
a change to the student’s permanent record, absent such
documentation, the school should contact OSFSE.

@ The school must protect the student's previous identity
once a change to a student's legal name and/or gender has
occurred. Please refer to the Student Record Keeper Manual,
Office of Shared Accountability (OSA), or OSFSE for additional
information. =

® When a name and/or gender change has been made to official
school records, the school must notify OSA so that appropriate
notice to MSDE can be made.

@ When a name and/or gender change has been made to official
school records, school administrators should advise families
that-they must provide updated copies of any records provided
to the school that were generated by external sources (e.g.,
immunization records, doctor's orders, or other records from
medical providers).

& Similarly, a former student’s permanent record should be
changed to reflect a change in the former student's legal
name or gender, upon receipt of documentation that such
legal name and/or gender have been changed pursuant
to a court order, new birth certificate, state- or federal-
issue identification, or with documentation from a licensed
healthcare practitioner. These changes are processed by
Central Records.

DRESS CODE

& Transgender and gender nonconforming students have the
right to dress in a manner consistent with their. gender
identity or gender expression, so long as it complies with
the MCPS dress code. School staff members shall not enforce
a school's dress code more strictly for transgender or gender
nonconforming students than for other students.

B Schools should consider gender-neutral dress codes for class
or yearbook photos, honor society ceremonies, graduation
ceremonies, or dances. In addition, in circumstances where
gendered clothing is worn (e.g., in shows and performances),
students should be allowed to wear the garments associated
with thefr gender identity.

GENDER-BASED ACTIVITIES
@ Schools should evaluate all gender-based policies, rules,
and practices, and maintain only those that have a clear
and sound pedagogical purpose. For example, ff music and
performance groups arrange students into sections, they
should seek to group them by voice type/qualities, rather
than by gender.

& Whenever students are separated by gender in school
activities or are subject to an otherwise lawful gender-specific
rule, policy, or practice, students must be permitted to
participate consistent with their gender identity.

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GEN DER-SEPARATED AREAS
& Where facilities are designated by gender, students must be
provided access to gender-specific facilities (e.g., bathrooms,
locker-rooms, and changing rooms) in alignment with their
consistently asserted gender identity.

& Any student who is uncomfortable using a shared facility
because of safety, privacy, or any other reason, should,
upon request, be provided with a safe and nonstigmatizing
alternative arrangement such as a single bathroom or, with
respect to locker rooms, a privacy partition or curtain in
changing areas, use of a nearby private restroom or office, or
a separate changing schedule. The student should be provided
access in a manner that safequards confidentiality.

3 Students who are entitled to use a facility consistent with
their gender identity cannot be required to use an alternative
arrangement. Altemative arrangements should be used only
at the request of a student and in a manner that keeps the
student's transgender status confidential.

@ Some students may feel uncomfortable with a transgender
student using the same sex-specific facility. This discomfort
is not a reason to deny access to the transgender student,
School administrators and counseling staff members should
work with students to address their discomfort to foster
understanding of gender identity and to create a school
culture that respects and values all students.

NEW CONSTRUCTION / RENOVATION
& Tf existing facilities do not meet the requirements of
school administration to provide a gender-neutral facility
for students, schools should work with the Department of
Facilities Management to develop facility plans that could
include renovation of existing facilities.

@ Bearing in mind student safety considerations, the Department
of Facilities Management should work to design gender-neutral
bathroom facilities that are for student/public use.

A To tha extent feasible, MCPS should build at least one gender-
neutral restroom on each floor and in high-traffic areas.

@ To the extent feasible, MCPS should incorporate at least
one gender-neutral changing facility into the design of new
schools and school renovations, allowing for safety and
confidentiality considerations in the design and location of
the gender-neutral facility.

PHYSICAL EDUCATION CLASSES AND
INTRAMURAL SPORTS
& Whenever the school provides gender-segregated physical
education classes and intermural sports, students must be
allowed to participate in a manner consistent with their
gender identity.

Renae ree mrane es,

INTERSCHOLASTIC ATHLETICS
@ Transgender and gender nonconforming student participation
in interscholastic athletics is determined in accordance
with Maryland Public Secondary Schools Athletic Association
(MPSSAA) policies and guidelines (available online at wen:
mossaa ong ossatey L/6HPSSAA Transgender, Guidance _
ravised_&. lé.pd/).

@ Per MPSSAA guidance and to ensure competitive fairness,
the integrity of women’s sports, and equal opportunities to
participate without discrimination, transgender and gender
nonconforming students in MCPS shall be permitted to
participate on the interscholastic athletics team of:

@ the student’s sex assigned at birth; or
& the gender to which the student has transitioned; or
® the student's asserted gender identity.

& Schools should refer any appeals regarding eligibility to
participate in Interscholastic athletics to the MCPS Athletics
Unit.

®@ Competition at other schools: Accommodations provided at
the home school should be made available at other facilities
with the consent of the student and as part of the student's
plan. The coach or home school should notify the school to
be visited about any necessary accommodations, keeping the
identity of the student confidential.

CLUBS
& Many MCPS middle and high schools have student-led clubs
that connect and support the interests of LGBTQ+ and gender
nonconforming students, such as Gender and Sexuality
Alliance (GSA) clubs, These clubs should run like any other
club with clearly defined purposes.

ATION/OVERNIGHT

Students must be allowed ta participate consistent with their
asserted gender identity.

@ Sleeping arrangements should be discussed with the student
and family (if the family is supportive of the student). Upon
request, the student should be provided with a safe and
non-stigmatizing alternative arrangement, such as a private
sleeping area, ff practicable,

® Schools should try to accommodate any student who may desire
greater privacy, if practicable, without isolating other students.

@ A student's transgender status is confidential information and
school staff members may not disclose or require disclosure
of a student’s transgender status to other students or their
parents/quardians, as it relates to a field trip, without the
consent of the student and/or the student’s parent/quardian.

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BULLYING, HARASSMENT, OR
INTIMIDATION AND THREAT ASSESSMENT

LGBTO+ students have a higher incidence of being bullied and
harassed, as well as a higher rate of suicide contemplation,
and are more than five times as likely as non-LGBTQ+ students
to attempt suicide,

Board Policy JHF, Bullying, harassment, or Intimidation, sets
forth the Board’s commitment to an environment that is free
of bullying, harassment, or intimidation so that schools are

a safe place in which to learn; and MCPS Regulation JHF-

RA, Student Bullying, Harassment, or Intimidation, provides
procedures that address the prohibition of bullying in schools.
These are available on the MCPS website at fifes://winn
monigomeryschoolsmd. org/departments/policy,ndi/hf pdf and
hitns://ww, monigomeryschooistad. org/departments’ policy’
paj/ihyra.pdf.

Board Policy COA, Student Well-being and School Safety,
establishes and maintains a behavior threat assessment
process, based on an appraisal of behaviors, and provides
appropriate preventive or corrective measures to maintain
safe and secure school environments and workplaces, All
children deserve a safe and nurturing school environment
that supports their physical, social, and psychological well-
being. In alignment with Board Policy ACA, Noxdiscrimination,
Equity, and Cultural Proficiency, school safety measures
should not reinforce biases against, or rely on the profiling
of, students based on their actual or perceived personal
characteristics. MCPS Regulation COA-RA, Sefavior Threat
Assessment, requires that staff responsible for implementing
behavior threat assessment procedures at the school level

are trained to understand implicit bias, promote diversity
awareness, and consider the risk of self-harm or the presence
of suicidal ideation. Board of Education Policy COA, Student
Well-being and School Safety, and MCPS Regulation COA-RA,
Behavior Threat Assessment, ate available on the MCPS web at
www. montgomeryschoolsmd.org/departments/policy/pdj/coa.
pdf and www, montgomeryschoolsmd,org/departments/policy/
pdf/coara.pdf

Bullying and harassment include conduct that is directed at

a student based on a student's actual or perceived gender
identity or expression, and includes conduct that targets a
studant because of a characteristic of a friend, family member,
or other person or group with whom a student associates.

Complaints alleging discrimination or harassment directed

at a student based on a student’s actual or perceived gender
identity or expression should be handled in the same manner
as other discrimination or harassment complaints. Schools
should be vigilant about bullying and harassment and address
it promptly.

School staff members should take all reasonable steps

to ensure safety and access for transgender and gender
nonconforming students at their school and support students’
rights to assert their gender identity and expression.

Students shall not be disciplined based on their actual or
perceived gender identity or expression.

 

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@ Schools are encouraged to have age-appropriate student

organizations develop and lead programs to address issues of
bullying pravention for all students, with emphasis on LGBTQ+
students,

SAFE SPACES

@ Hallway or “Flash” Pass: If needed, schools will allow

a transgender or gender nonconforming student to go to

a safe space (¢.g., main office, counselor's office) at any
time the student encounters a situation that feels unsafe or
uncomfortable.

Safe Zones: Schools will designate certain teachers’
classrooms, specific offices, or a location in a school that is
deemed a safe zone where any student, for whatever reason,
may go to be free from judgment and to feel comfortable
and safe, Schools also should ensure that staff members

__who have safe zone stickers on their doors have received

appropriate training regarding providing inclusive, affirming
environments.

START SUPPORT

Board of Education Policy ACA, Nondiscrimination, Equity,

and Cultural Proficiency protects alt MCPS employees from any
form of discrimination, including actions that are motivated
by an invidious intent to target individuals based on their
actual or perceived personal characteristics as well as acts of
hate, violence, insensitivity, disrespect, or retaliation—such
as verbal abuse, harassment, bullying, slurs, threats, physical
violence, vandalism, or destruction of property—that impede
or affect the learning or work environment, and encompassing
racism, sexism, issues of gender identity, and other forms

of institutional prejudice in all their manifestations. Staff
seeking guidance and supports involving issues of gender
identity are encouraged to contact the coordinator in the
Office of Employee Engagement and Labor Relations (OEELR)
at 240-740-2888.

CONTACTS
For more information please contact the MCPS OSFSE at 240-

314-4824, or the MCPS Office of the Chief of Staff, Student -
Welfare and Compliance, at 240-740-3215.

 

 
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MCPS NONDISCRIMINATION STATEMENT

Montgomery County Publi¢ Schools (MCPS) prohibits illegal discrimination based on race, ethnicity, color, ancestry, national
origin, religion, immigration: status, sex, gender, gender identity, gender expression, sexual orientation, family/parental
status, marital status, age, phystcal or mental disability, poverty and socloeconomic status, lanquaga, or other legally or
~ constitutlonally protected attributes or affiliations. Discrimination underminas our communitys long-standing efforts to create,”
foster, and promote equity, inclusion, and acceptance for all. Some examples of discrimination include acts:of tate, Violence,
insensitivity, harassment, bullying; disrespect, or retaliation. For more information, please review Montgomery County Board
of Education Policy ACA, Nondiscrimination, Equity, and Cultural Proficiency. This Policy affirms the Board’s belief that each’
and every student matters, and in partteular, that educational outcomes should never be pradictabla by any individual's actual
or perceived parsonal characteristics. The Policy also recognizes that equity requiras proactive steps to identify and. yedvess
implicit biases, practices that have an unjustified disparate impact, and structural and institutional barriers that impede
_ equality of scticational or employment opportunities, : :

 

 

 

 

 

For inqittrias or complaints about diseriinination agatnst | For inquiries or coniplalnts about iserinsination ieaaalost
MCPS staff * MEPS studenta* 0. =. :
Office of Employee Engagement.and Labor Relations Office of the Chief of Staff
Department of Compliance and Investigations Student Welfare and Compliance...
850. Hungerford: Drive, Room.55; Rockville, MD 20850 850 Hungerford Drive, Room 162, Rockville, MD 20850
240-740-2888. 240-740-3215 .
OFELR-Employeatngagement@mepsmnd .Org COS-StudentWelfare@mepsmd.org

For ingutrtes or complaints about sex diserimination under Title mM, including sexital harassment, agsinst atudents or staff”

A Tithe IX Coordinator

Office of the Chief of Staff

Student Welfare and Compliance

850 Hungerford Drive; Room 162, Rackville, MD 20850

240-740-3215 :

COS-TitleIX@mepsmd.org. _

“Inquiries; coniplaints, or requests for accommodations for students. with disabilities also. maybe directed to.the supervisor .
of the Office of Special Education, Resolution and Compliance Unit, at 240-740-3230. Inquiries regarding accommodations

or modifications for staff may be. directed to the Office of Empleyee Engagement and Labor Relations, Department of
Compliance and Investigations, at 240-740-2888. In addition, discrimination complainis may be filed with other agencies,
such ast the U.S. Equal Emplayment Opportunity Commission, Baltimore Field Office, Qty:Crescent Bldg.,:40 §. Howard Siveet,
Third Floor, Baltimore, MD 21201, 4-800-669-4000, 1-800-669-6820. (TTY); or U.S, Denartment.of Education, Office-for Cull
Rights, lyndon Baines Johnson: Dept.-of Education Bldg., 400 Maryland Avenue, SW, Washington, DC 20202-1100, 1-800-421-
3481, 1-800-877-8339 (TDD), OCR@ed.gov, or www2.ed.gov/about/affices/list/ocr/complaintintra, html, _

 

 

 

This document is available, upon request, in languages other than: English and in an alternate format-under the Americans
with Disabilities Act, by.contacting the. MCPS Office of Communications at 240-740-2837, 1-800-725-2258 (Maryland Ralay),

~ or PIO@mepsmd.ory. Individuats who need sign language interpretation or cued speech transliteration may contact tha MCPS
Office of Interpreting Services at 240-740-1800, 301-637-2958 (VP) or NcPsinterpretingServies@mepsmd. ong. Mees also
provides equal access to the Boy/Girl Scouts and other designated veuth groups,

 

Maryland's Largest Sohool District

MONTGOMERY COUNTY PUBLIC SCHOOLS

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MONTGOMERY COUNTY PUBLIC SCHOOLS Page 1 of 2

 

Intake Form: Supporting Student Gender Identity |
Office of Student and Family Support and Engagement
MONTGOMERY COUNTY PUBLIC SCHOOLS

Rockville, Maryland 20850
See MCPS Guidelines for Student Gender Identity

 

 

Instructions: The school administrator, counselor, or psychologist should complete this form with the student. Parents/guardians
may be involved if the student states that they are aware of and supportive of the student’s gender identity. This form should be
kept in a secure, confidential location. See distribution information on Page 2. This form is not to be kept in the student's
cumulative or confidential folders. All plans should be evaluated on an ongoing basis and revised as needed.

STUDENT INFORMATION

     
   

Student Name in MCPS Student Information System (Last, First, MI):

 

 

School_-- Choose One -- ea Grade __
What is your identified name?* MCPS ID #

 

 

What is your identified gender?" O Male @ Female Q X (unspecified/non-binary) [1 Other

What pronouns do you use to identify yourself in school?

 

 

SUPPORT /SAFETY FOR STUDENT

is parent/guardian aware of your gender identity? O Yes © No. =
Support Level: (None) 1 O92 03 04 05 O6 7 ‘8 9 @ 10 (High)

if support level is low, what considerations must be accounted for in implementing this plan?

    

PRIVACY, Pails) Pi Nene AND DISCLOSURE
Plan for bathroom/locker use:

Plan for sports/extracurricular activities:

Other issues to be considered/addressed:

Who will be the student's “go to adult” on campus?

 

 

 

* Consistent with MCPS Guidelines for Student Gender Identity, the school administrator/counselor/psychologist can request that the school record
keeper add the identified name in the MCPS Student Information System.

** Student’s indication of Identified gender on this form is for confidential notification to the school ONLY, if the student requests that thelr gender be
changed on MCPS official records, the school must follow the procedures outlined in the MCPS Student Record Keeper Manual.
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MCPS Form 560-80
Page 2 of 2

PRIVACY, CONFIDENTIALITY, AND DISCLOSURE (continued)
if this person [s not available, what should student do?

What, if any, will be the process for perlodically checking in with the student and/or family?

What are expectations In the event the student is feeling unsafe and how will the student signal thelr need for help?

OTHER SCHOOL ACTIVITIES

Are there lessons, units, content or other school activities during the school year to consider (health curriculum, swim unit, social
justice units, name projects, dance instruction, Pride events, school dances, promotion/graduation ceremonies, etc.)?

COMMUNICATION PLAN
Identify staff to whom this Information may be disclosed:

How public or private will Information about this student's gender be?

SUPPORT PLAN REVIEW AND REVISION
How will this plan be monitored over time?

 

Form completed by (print name) Date / /

 

 

 

Distribution: Copy 1/School Confidential folder (in principal’s office)
Copy 2/Student Welfare and Compilance Unit, via scan to COS-StudentWelfare@mepsmd.org,
or via pony to CESC, Room 162, in a envelope marked confidential
